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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SCHEUFELE ET AL.,
17-cv-5753 (JGR)
Plaintiffs,
ORDER

 

- against -
TABLEAU SOFTWARE, INC. ET AL.,

Defendants.

 

JOHN G. KOELTL, District Judge:

As discussed at the conference held on October 30, the
defendants are ordered to begin producing documents from the
batch of 57,000 documents that were not collected during initial
document collection, by Friday, November 6, 2020.

Parties have agreed for the defendant to produce a copy of
the litigation hold and the company’s document retention policy.
The parties will provide the Court with a joint status

report by November 24, 2020.

The Court will hold a telephone conference with the parties

on November 30, 2020, at 4:00 pm, dial-in: 888 363-4749, with

access code 8140049,

SO ORDERED.
Dated: New York, New York

October 30, 2020 a TN Lic (4

LU,
= fol G. Koeltl
United States District Judge

 

 

 
